                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
__________________________________________
                                             )
Global Force Entertainment, Inc. and Jeffrey )
Jarrett,                                     )
                                             )
              Plaintiffs,                    )
                                             )
v.                                           )   Case No. 3:18-cv-00749
                                             )
Anthem Wrestling Exhibitions, LLC,           )
                                             )
              Defendant.                     )
__________________________________________)

        DEFENDANT’S MOTION IN LIMINE TO EXCLUDE SPREADSHEETS
            NOT CREATED IN THE NORMAL COURSE OF BUSINESS

       COMES NOW Defendant Anthem Wrestling Exhibitions, LLC (“Defendant” or “Anthem

Wrestling”), by and through undersigned counsel, pursuant to Rule 104(a) of the Federal Rules of

Evidence, and respectfully moves the Court in limine, with its Memorandum of Law in Support

incorporated below, for entry of an Order excluding the document identified as Deposition Exhibit

10 and all drafts and copies thereof, including documents identified by the following bates

numbers:    ANTH-0000044_0001,        ANTH-0000045_0001,        ANTH-0000077_0001,         ANTH-

0000079_0001, ANTH-0000085_0001, ANTH-0005899-0001, ANTH-0007103-0001, ANTH-

0008702-0001, ANTH-0008748-0001, ANTH-0011563-0001, ANTH-0012022_0001, ANTH-

0012233_0001, ANTH-0012255_0001, and ANTH-0012257_0001. These documents are all

copies and/or drafts of a spreadsheet created by Edward Nordholm, who testified the spreadsheet

was not kept in the ordinary course of Anthem Wrestling’s business and, because the data in the

spreadsheet was likely provided by Plaintiff Jeffrey Jarrett without documentary evidence to

support the dataash, the spreadsheets are inherently untrustworthy. Therefore, the spreadsheets are

hearsay and the Court should exclude them from the evidence at trial. Pursuant to Local Rule




  Case 3:18-cv-00749 Document 157 Filed 06/05/20 Page 1 of 5 PageID #: 2309
7.01(a)(1), Anthem Wrestling has conferred with Plaintiffs’ counsel and the relief sought by this

Motion is opposed.

                                               ARGUMENT

       Hearsay is an out-of-court statement offered to prove the truth of the matter asserted in the

statement. Fed. R. Evid. 801(c). Hearsay is not admissible unless specifically allowed under a

federal statute, the Federal Rules of Evidence, or Supreme Court rules. Fed. R. Evid. 802. The

relevant portion of the spreadsheet at issue was created by Edward Nordholm in 2017 during the

negotiations of the failed merger of Anthem Wrestling and Plaintiff Global Force Entertainment,

Inc. (“GFE”). During depositions, Plaintiffs focused on the entry in this spreadsheet that includes

projected values of the video content at issue in this case (“the Amped Content”). Plaintiffs clearly

intend to rely on this evidence for the truth of the matter asserted: that this spreadsheet truthfully

states the value of the Amped Content.

       However, as Mr. Nordholm made clear in his deposition, this document does not fall within

the non-hearsay category of a business record because this document was not created or kept in

the ordinary course of Anthem Wrestling’s business. Rule 803(6) of the Federal Rules of Evidence

exempts records of a regularly conducted activity from hearsay. A document falls within this

exception if:

       (A) the record was made at or near the time by--or from information transmitted by--
       someone with knowledge;
       (B) the record was kept in the course of a regularly conducted activity of a business,
       organization, occupation, or calling, whether or not for profit;
       (C) making the record was a regular practice of that activity;
       (D) all these conditions are shown by the testimony of the custodian or another qualified
       witness, or by a certification that complies with Rule 902(11) or (12) or with a statute
       permitting certification; and
       (E) the opponent does not show that the source of information or the method or
       circumstances of preparation indicate a lack of trustworthiness.


                                                  2

   Case 3:18-cv-00749 Document 157 Filed 06/05/20 Page 2 of 5 PageID #: 2310
Fed. R. Evid. 803(6). This spreadsheet cannot meet the requirements of this exception. Plaintiffs’

attorney specifically asked Mr. Nordholm, “[I]s this a spreadsheet that was kept in the normal

course of business by Anthem Wrestling?” Mr. Nordholm answered, “No. … I don’t think Anthem

cared at all about this information. This is a spreadsheet that I prepared for my own analysis for

discussing the terms of a deal with Jeff Jarrett.” (Nordholm Dep., Nov. 13, 2019, 131:22-132:8)

(excerpt attached as Exhibit A). Plaintiffs clearly cannot meet the second element of Rule 803(6)

and do not have a custodian or qualified witness who has testified that the spreadsheet meets the

conditions of that exception or any qualifying certification stating so.

       Additionally, the source of the information within the spreadsheet is inherently

untrustworthy. Mr. Nordholm testified that the source of this information was likely Mr. Jarrett.

When asked where he got the data on the cost of the Amped Content Mr. Nordholm stated

“Probably from Jeff. … I think it was just a number as sort of Jeff’s indication as to how much

money he had invested in getting the content.” (Nordholm Dep., Nov. 13, 2019, 133:4-11) The

fact that this data came from Plaintiff, who was negiating to receive the highest amount of money

or equity that he could, inherently makes the data lack trustworthiness. Additionally, Mr.

Nordholm went on to testify that there were many versions of this spreadsheet that listed different

values for the Amped Content and GFE’s projections. (Nordholm Dep., Nov. 13, 2019, 133:4-24)

Mr. Nordholm stated the various versions were created because Mr. Nordholm used these

spreadsheets to “reverse engineer” the numbers in order to allocate potential values to what

Anthem would be receiving from the transaction and to provide Mr. Jarrett with the equity he was

requesting. (Nordholm Dep., Nov. 13, 2019, 133:15-134:5) Also, Mr. Nordholm testified that he

preferred allocating more of GFE’s value to GFE’s library, including the Amped Content, than to

GFE’s general goodwill due to tax implications. (Nordholm Dep., Nov. 13, 2019, 134:6-24) The



                                                  3

   Case 3:18-cv-00749 Document 157 Filed 06/05/20 Page 3 of 5 PageID #: 2311
testimony proves that these numbers lacked consistency or any reliable evidence to support the

data.

                                        CONCLUSION

        Anthem Wrestling humbly requests that the Court enter an Order excluding the document

identified as Deposition Exhibit 10 and all drafts and copies thereof because the data within the

spreadsheet constitutes hearsay and is inherently untrustworthy.




                                                    Respectfully Submitted,

                                                    BASS, BERRY & SIMS PLC

                                                    /s/ Paige W. Mills
                                                    Paige W. Mills, TN Bar No. 16218
                                                    Ashleigh D. Karnell, TN Bar No. 36074
                                                    150 Third Avenue South, Suite 2800
                                                    Nashville, TN 37201
                                                    Phone: (615) 742-6200
                                                    Email: pmills@bassberry.com
                                                    Counsel for Defendant




                                                4

   Case 3:18-cv-00749 Document 157 Filed 06/05/20 Page 4 of 5 PageID #: 2312
                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 5, 2020, I electronically filed the foregoing document with the
Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to
the following and/or served the following via U.S. Mail:

 Samuel F. Miller
 Sara R. Ellis
 Hayley Hanna Baker
 Miller Legal Partners, PLLC
 Fifth Third Center – Suite 2000
 424 Church Street
 Nashville, TN 37219



                                                      /s/ Paige W. Mills




                                                 5

   Case 3:18-cv-00749 Document 157 Filed 06/05/20 Page 5 of 5 PageID #: 2313
